Exhibit 1
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       Prison settings amplify risk of COVID-19. This is primarily because social distancing is

nearly impossible due to the built environment of many prison facilities (1). People who are

incarcerated recreate and dine together, use shared bathrooms, and often sleep in dormitory-style

housing. In addition to this, many facilities are crowded at baseline making it that much more

difficult to maintain physical distance. People who are incarcerated are also more likely to suffer

severely from COVID-19—11% of individuals who are incarcerated are over the age of 55 and

on average people who are incarcerated have at least one chronic health condition (2). Age,

therefore, has often been considered a major factor in decisions to release certain people in the

context of the pandemic.

       While the age that might qualify someone for release has varied across systems, there is

evidence that individuals who are incarcerated age at faster rates than their community-dwelling

counterparts, providing evidence for a more flexible and younger age to be considered for release

qualification. For example, Williams, et al. (2012) found that among men and women

incarcerated at the San Francisco County jail, who were on average aged 59, they had health

indicators that were more typical of community-dwelling people who were 71.7 years old (3).

Studies have also indicated that chronic stressors, like incarceration, can be embodied and cause

biological changes to the body (4-10). These changes can include “wear and tear” on the

regulatory systems to include the metabolic, inflammatory, nervous, cardiovascular, and

sympathetic systems. Dysregulation of these systems can lead to structural and chemical changes


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of the brain and, most important herein, a compromised immune system (6). Therefore, there is

emerging evidence that people who are incarcerated tend to display health characteristics of

individuals in the community that are much older and that long-term chronic stress, such as that

introduced by incarceration, can lead to a weakened immune system—both of which heighten

risk of suffering from COVID-19 severely.

       Given the inherent risks of carceral settings, certain strategies have emerged as important

to prevent COVID-19 including reduction of population, robust testing efforts, and cohorting of

individuals to limit exposure and increase the success of contact tracing if there is exposure to a

positive case. However, these strategies have been underutilized in most prison settings. On

average, prisons have only reduced their populations by 5%. Similarly, testing has been slow to

scale up across the nation. The Federal Bureau of Prison, to date, is reporting having conducted

29,896 total tests among incarcerated people with 9,019 positive cases and 99 deaths as of July

17, 2020. Among staff who are often where exposure originates due to their community contact

with COVID-19, there have been a total of 919 cases and 1 death. The test positivity rate among

incarcerated people is 30%, which is far higher than is found in community settings. Test

positivity that is so high underscores the need to release significant proportions of the population

to prevent mass COVID-19 infection. While these data are important to begin understanding the

impact of COVID-19 in the Federal Bureau of Prisons, it is also important to point out the lack

of transparency and data errors that threaten the integrity of these data and make more opaque

our ability to comprehend their implications. In certain facilities so little testing has been

conducted that is impossible to understand the current or historical incidence of COVID-19, but

evidence from other systems indicates that more tests equal more identification of cases. FMC-




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Devens is a facility in which dangerously little is known relevant to data on COVID-19 in their

facility.

                             Conditions and Data from FMC-Devens

The Camp at FMC-Devens is a dormitory style living facility in which it is very difficult to

engage in social distancing. Inmates recreate and eat together and share common electronic

stations that house computers and telephones. Facilities that have these types of built

environments, as attested to above, are extreme amplifiers of risk and have been the sites of
                          BOP Tests Over Time: Total vs Devens FMC
   35000
                                                                               countless outbreaks

                                                                               across the country,

                                                                               especially when

                                                                               there is no long

                                                                               term testing and
   lDDDD                                                                 915
                                                                               mitigation strategy
   5000                                                                  910

                                                                               in place. The

                                                                               adjacent figure
                               -   l(l(alBOPTeu   -   ~ensFMCTests

                                                                               shows tests

conducted in FMC-Devens compared to tests conducted in the Bureau of Prisons overall. The

source of these data is the Federal Bureau of Prisons, which is reported daily. On June 15, 2020,

the Federal Bureau of Prisons began reporting testing data (so any testing numbers before this

date are unknown). In total, at FMC-Devens, as of July 17th, it appears that a majority of people

incarcerated at have been given a COVID-19 test, which is a good first step. However, it is

important to point out the discrepancies in the data reported. Total testing numbers should not

ebb and flow. Tests conducted day over day should continually add and lead to an increase in


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     total testing numbers. As you can see in this figure, at FMC-Devens, the testing data are in some

     ways inexplicable. Testing numbers that bounce up and down over time give us reason to pause

     and question the validity of the data and make it hard to understand the impact of testing as a

     prevention tool in this facility in particular. In addition, if it is true that FMC-Devens has tested a

     majority of people who are incarcerated there, yet have no long term plan to repeatedly test staff

     and incarcerated people or test all new transfers or admissions then this is not an effective, long-

     term way to mitigate future COVID-19 outbreaks.

            In the below figure the number of positive cases at FMC-Devens as reported by the

                                                                                Federal Bureau of Prisons
                         Inmates Reported Positive at Devens FMC
                                                                                is shown. At their peak,

60                                                                              the facility had close to 50

                                                                                cases. However, again we

                                                                                have to view these data

                                                                                skeptically. Because the

                                                                                Federal Bureau of Prisons

                                                                                removes cases from the

                                                                                positive case count once

                                                                                they are considered

     “recovered”, it is difficult to accurately discern the total incidence of COVID-19 in this facility.

     For instance, if 10 new cases were discovered, yet on the same day 11 people were considered to

     be recovered, then the positive case count could go down even though new cases were

     discovered. This makes it difficult to understand how many cumulative cases there may be in

     total. In addition, to testing and cases numbers, FMC-Devens is also reporting 2 inmate deaths.



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       Staff are also a major source of risk because their community exposures are the route for

COVID-19 to enter correctional facilities. At FMC-Devens currently there are 6 staff reported as

“recovered”, meaning they, at some point, reported being positive to COVID-19. There is no

information given as to number of staff tested.

       Unfortunately, the Federal Bureau of Prisons does not provide data for other information

that would be helpful to gauge the risk of their facilities. For instance, how many people have

been put in quarantine or medical isolation? What is the institution’s capacity to house people in

quarantine or medical isolation units as defined by the Centers for Disease Control and

Prevention to mitigate spread? How many people have they released to home confinement in an

effort to de-populate their facilities? The Federal Bureau of Prisons also provides some

information relevant to their sanitation practices and their transfer practices but there is no

available information for each facility. Therefore, given the dormitory-style and congregate-

living environment and the lack of a long-term testing focused mitigation plan, the risk of

contracting COVID-19 at FMC-Devens remains high.

                                            Conclusions

   When it comes to disease transmission, jails and prisons are extreme amplifiers of COVID-

19 risk and FMC-Devens is no different. Prisons house a large number of individuals in close

quarters who on average have a greater burden of disease and age quicker than their non-

incarcerated peers. The experience of incarceration itself contributes to long-term stress that

can affect the body’s functioning and immune response. It is, therefore, not surprising that

there have been large outbreaks at Bureau of Prison facilities across the country that have not

decreased their population to allow for social distancing. In late March, Attorney General Barr

encouraged the greater use of home confinement in an effort to depopulate the Federal Bureau


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of Prisons. To date, the Bureau of Prisons reports that 7,021 people have been released on

home confinement, which is only about 4% of the more than 174,000 people in the bureau’s

custody. This small percent change in reduction of population is unlikely to increase the ability

to engage in social distancing or decrease the likelihood of COVID-19 spread across their

facilities.

    Given the limited efforts at reduction of population, testing becomes increasingly

important. While FMC-Devens has had a mass testing effort of incarcerated people, the Federal

Bureau of Prisons has not articulated a long term testing plan as other state entities have (e.g.

targeted testing of all new entrants, people with a known exposure, transfers). Without a long

term plan, one time mass testing of incarcerated people only (and not staff) is useless to

mitigate future spread of COVID-19. Additionally, it is unknown what FMC-Devens’s

capacity is to engage in medical isolation and quarantine for exposed and positive cases. These

facts in combination with the congregate living conditions at FMC-Devens wherein

transmission of COVID-19 can occur rapidly as we have seen in similar facilities repeatedly

over the last four months, underscore that the most important prevention tool that can be

utilized is depopulation.

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